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                                      UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA


                                                          CHAPTER 13 PLAN (Individual Adjustment of Debts^

                               1)                                              Original Plan

                               □                                              Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                               □                                               Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

    DEBTOR: Hector Acosta Abreus                                  JOINT DEBTOR:                                         CASE NO.:

    SS#: xxx-xx- 5879                                                SS#: xxx-xx-

    I.           NOTICES

                 To Debtors:           Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                       modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                       the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                 To Creditors:           Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                         be reduced, modified or eliminated.
                 To All Parties:       The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                         on   each line listed below in this section to state whether the plan includes any of the following:

         The valuation of a secured claim, set out in Section III, which may result in a                                r~|   Included           [■] Not included
         partial payment or no payment at all to the secured creditor
         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                        f~1   Included           [■] Not included
         out in Section III
         Nonstandard provisions, set out in Section IX                                                                  [¥|   Included           [~l   Not included
    II.         PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEY’S FEE

                A.      MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filin^conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.     $130.34                 for months     1   to 36      ;

                 B.     DEBTORtSV ATTORNEY'S FEE;                                              □ NONE    □ PRO BONO
             Total Fees:                 $5,200.00             Total Paid:               $1,625.00         Balance Due:           $3,575.00

             Payable                $117.31            /month (Months     1     to 30 )
             Payable                $55.72             /month (Months JJ_ to _3J_ )
             Allowed fees under LR 2016-1(B)(2) are itemized below:
             Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

             Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.        TREATMENT OF SECURED CLAIMS 1) NONE
    IV.         TREATMENT OF FEES AND PRIORITY CLAIMS las defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                        (D NONE
    V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                            □ NONE
                      A. Pay          $61.59           /month (Months 31          to 31 )

                         Pay          $117.31          /month (Months 32          to 36 )

                         Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

                      B. □ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                      C. SEPARATELY CLASSIFIED:                     (1 NONE
    VI.          STUDENT LOAN PROGRAM                        [1 NONE



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VII.        r.XRCliTORV CONTRACTS AND UNEXPIRED LEASES                                  Q NONE
      Secured claims filed by any creditor/lessor granted stay rclierin this section shall not receive a distribution from the Chapter 13 Trustee.
                [W| Unless provided for under a separate section, the dcbtoi (s) request that upon confirmation of this plan, the automatic stay be
                    terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lcssors. Nothing
                    herein is intended to terminate or abrogate the dcbtor(s)' state law contract rights.


                  Name of Creditor                    Collateral                             Acet. No. (Last 4 Digits') Assume/Reicct
                  HECTOR FERRAN ROBAINA                1827 SW 131 ST PLACE CT.              5879
             i.
                                                      Miami FL 33175                                                   @ Assume □ Reject
VIII.       INCOME TAX RETURNS AND REFUNDS:

                   [S] Debtor(s) will not provide tax returns unless requested by any interested parly pursuant to 11 U.S.C. § 521.
IX.        NON-STANDARD PLAN PROVISIONS □ NONE
           @ Nonstandard provisions must be set forth below. A nonstandard provision is a provision not othcrwi.se included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  Conllrmalion of the plan shall not bar Debtor's counsel from (lling an Application for Compensation for any work performed
                  before confirmation.

           |~1    Mortgage Modification Mediation


                         PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the fm-egoing chapter 13 plan is true and correct under penalty of perjuiy.


                                             Debtor                                                               Joint Debtor

                                                              Date                                                                          Dale
 HectorAcosfa Abr CHS




 /s/ Jose A. Blanco, Lsq.
                                                            Date
      Attorney with permission to sign on
      Debtor(s)' behalf who cerlilles that
      the contents of the plan have been
        reviewed and approved by the
                        Debtor(s).*

   By filing this document, the .Attorney for Dcbtor(.s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in tliis Chapter 13 plan are Identical to those contained in Local Form Chapter 13 Plan and the |)lan
   contains no nomstandard provisions other than those set out in paragraph IX.




'This cci tincalion requirement applies even if the Dcbtor(s) have executed a limited power of attorney to Debtoi'(s)' allorncy authorizing the
attorney to sign documents on the Debtor(s)' behalf




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